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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT


JO LYNN WILSON                                       :
                                                     :
         Plaintiff                                   :               CIVIL ACTION NO.:
                                                     :               3:15-CV-00207-MPS
vs.                                                  :
                                                     :
YALE UNIVERSITY                                      :
                                                     :               May 4, 2015
         Defendant                                   :


                          MOTION FOR EXTENSION OF TIME

         Defendant hereby moves, pursuant to Local Civil Rule 7(b) for a 30-day extension of

time, up to and including June 3, 2015 to file a response to plaintiff's Amended Complaint. This

extension is necessary because defense counsel needs additional time to research the facts and law

necessary to frame a proper response to the Amended Complaint. Plaintiff's counsel has indicated

that he has no objection to the granting of this motion. This is the second such request for an

extension of time.


                                                     THE DEFENDANT
                                                     YALE UNIVERSITY


                                                 BY:___/s/ Colleen Noonan Davis (#ct27773)
                                                    Colleen Noonan Davis
                                                    Donahue, Durham & Noonan, P.C.
                                                    741 Boston Post Road
                                                    Guilford, CT 06437
                                                    (203) 458-9168
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                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the court’s CM/ECF System.


                                                       _______________/s/________________
                                                        Colleen Noonan Davis




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